                     Case UNITED
                          14-34942-LMI Doc 108
                                   STATES      Filed 12/22/18
                                           BANKRUPTCY         Page 1 of 2
                                                            COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                                                       CASE NO.: 14-34942-BKC-LMI
                                                                    PROCEEDING UNDER CHAPTER 13

IN RE:

LETICIA ABREU

_____________________________/
DEBTOR

                                     NOTICE OF DELINQUENCY

   PLEASE TAKE NOTICE the above-referenced Debtor is delinquent in Confirmed Chapter 13 Plan
Payments in the amount of $4479.38.

    The Debtor shall have forty-five (45) days from the date of this Notice to make all payments due under
the Confirmed Plan/Modified Plan, INCLUDING ANY PAYMENTS THAT BECOME DUE WITHIN
THE FORTY-FIVE (45) DAY PERIOD, in the form of a money order or cashier's check only. Payments
must be sent to:

       NANCY K. NEIDICH, ESQUIRE
       STANDING CHAPTER 13 TRUSTEE
       P.O. BOX 2099
       MEMPHIS, TN 38101-2099

    If the Chapter 13 Trustee ("Trustee") does not receive all payments by February 4, 2019 to bring the
Debtor totally current under the Confirmed Plan/Modified Plan, or if applicable, a Motion to Modify has
not been timely filed and set within fifteen (15) days of this Notice pursuant to the Confirmation Order, the
Trustee may file and serve a Report of Non-Compliance.

    As a result of the Debtor failure to become current or timely file a Motion to Modify, the case shall be
dismissed with prejudice to the filing of any bankruptcy proceeding for a period of 180 days from entry of
the Order of Dismissal without further notice or hearing.

    I HEREBY CERTIFY that a true and correct copy of this Notice of Delinquency was served, via U.S.
first class mail and/or CM/ECF, upon the parties listed on the attached service list this 21st day of
December 2018.


                                                            /s/_____________________________________
                                                                Nancy K. Neidich
                                                            NANCY K. NEIDICH, ESQUIRE
                                                            STANDING CHAPTER 13 TRUSTEE
                                                            P.O. BOX 279806
                                                            MIRAMAR, FL 33027-9806
                Case 14-34942-LMI   Doc 108   Filed 12/22/18   Page 2 of 2
                                                                      NOTICE OF DELINQUENCY
                                                                    CASE NO.: 14-34942-BKC-LMI

                                    SERVICE LIST

COPIES FURNISHED TO:

DEBTOR
LETICIA ABREU
9257 SW 146 PLACE
MIAMI, FL 33186

ATTORNEY FOR DEBTOR
RICARDO R. CORONA, ESQ.
3899 NW 7 STREET
# 202-B
MIAMI, FL 33126
